 Case 16-13412-mdc        Doc 56-2 Filed 04/01/19 Entered 04/01/19 10:20:51                Desc
                            Certificate of Service Page 1 of 1



                  IN THE UNITED STATES BANKRUPTCY COURT
                 FOR THE EASTERN DISTRICT OF PENNSYLVANIA

IN RE: JOYCE GERBER,                                :       No.: 16-13412-REF
                                                    :
                      Debtor.                       :        Chapter 13

                                CERTIFICATE OF SERVICE

     I, Kate Best, hereby certify that I have served a true and correct copy of the foregoing
           Debtor’s Motion to Convert to a Chapter 7 upon the following recipients:


                                     Scott C Waterman
                                      Standing Trustee
                             2901 St Lawrence Avenue, Suite 100
                                     Reading PA, 19606
                                       (610) 779-1313

Via Public Access to Court Electronic Records/Electronic Case Filing on April 1, 2019




Date: April 1, 2019                                                         /s/ Kate Best
                                                                            Kate Best
                                                                            Bankruptcy Paralegal
                                                                            ARM Lawyers
